        Case 1:20-cv-11573-RGS Document 6 Filed 10/16/20 Page 1 of 2



                  UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS

                     CIVIL ACTION NO. 20-11573-RGS

                         MARK C. CHRISTENSON

                                      v.

                          DAVID DAVIDSON, et al.


                                   ORDER

                              October 16, 2020

STEARNS, D.J.

      For the reasons stated below, this action is dismissed without

prejudice.

      On August 17, 2020, pro se plaintiff Mark C. Christenson filed a

complaint without paying the $400 filing fee or moving to proceed without

prepayment of the fee. On September 23, 2020, the court entered an order

(Dkt #3) directing Christenson to pay the filing fee or file a motion for leave

to proceed in forma pauperis. The court stated therein that failure to comply

with the order within twenty-one days could result in dismissal of the action.

The clerk mailed a copy of the order to Christenson at the Seattle,

Washington address he had provided.
        Case 1:20-cv-11573-RGS Document 6 Filed 10/16/20 Page 2 of 2



      Christenson has not responded to the September 23, 2020 order, and

the time for doing so has expired. 1 Accordingly, this action is DISMISSED

without prejudice for failure to pay the filing fee.

                               SO ORDERED.

                                       /s/ Richard G. Stearns
                                       _ _____                  ___
                                       UNITED STATES DISTRICT JUDGE




1 On October 2, 2020, the copy of the order that the clerk had sent to
Christenson was returned to as undeliverable. (Dkt #4). The clerk sent the
order again to Christenson at the same address, but, on October 15, 2020,
this mailing was also returned as undeliverable. (Dkt #5). Because
Christenson has not provided the clerk with a different address for service,
the September 23, 2020 order is deemed delivered and properly served. See
Local Rule 83.5.5 (D. Mass.).
                                       2
